Case 1:19-cv-24766-KMW Document 307 Entered on FLSD Docket 07/19/2022 Page 1 of 3




                              UNITED STATES DISTRICT CO URT
                              SO UTHERN DISTRICT O F FLO RIDA
                              CA SE NO.19-247.66-CIV-W ILLIA M S

   SIERRA LEM PINEN,

         Fallpirltiff,



   CARNIVAL CO RPO RATIO N,
         Defendant.

                               /

                                        VERDICT FO RM

   Do you find by a preponderance ofthe evidence:

      1. ThatPlaintiffSierrà Lem pinen's fal
                                           se im prisonm ent by DefendantCarnivalCorporation's
         crew m em berem ployee Fredy Anggara caused Plaintiffdam ages?

                   Yes                              No

         Now thatyouhave answered Question #1,continue to Question #2.
         ThatDefendant's crew m em berem ployee Fredy A nggara sexually assaulted Plaintiff?

                    Yes                             No

         Jfyou answered f
                        rFes,''continue to Question #3.
         Ifyou answered T
                        rNo,''ski
                                p Question #3 and proceed to Question #4.
         Thatthis sexualassaultcaused Plaintiffdamages?

                   Yes                              No

         Now thatyouhave answered Question #3,continue to Question #4.
      4. ThatDefendant's crewm em berem ployee Fredy Anggara intentionally inflicted em otional
         distress upon Plaintif?

                  Yes                              xo           )r'
         /fyou answered f'Fes,''continue to Question #5.
         Ifyou answered ''
                         No,''skip Question #5 andproceed to Question #6.



                                           Page 1of3
Case 1:19-cv-24766-KMW Document 307 Entered on FLSD Docket 07/19/2022 Page 2 of 3




      5. Thatthis intentionalinfliction ofem otionaldistress caused Plaintis dam ages?

                Yes                                  No

         Now thatyou have answered Question #5,continue to Question #6.
      6. ThatDefendantw as negligent?

                Yes                                  NoO
         Ifyou answered îfYes,''continue to Question #7.
         Ifyou answered W o,'ski
                               p Question #7and proceed to Question #8.
         ThatDefendant's negligence was a Iegalcause ofPlaintiffdam ages?

                Yes                                  No

         Now thatyouhave answered Question #7,continue to Question #8.

     8. W hatis the totalam ountofPlaintiff's dam ages for:

             a. M edicaland psychologicalexpenses and treatm entin the past:

                                                                           $    0 /& 00.&0
             b. M edicaland psychologicalexpenses and treatm entin the future:

                                                                           $    q    o
                Pain and suffering, disability, physical im pairm ent, m ental anguish, em otional
                distress,inconvenience,aggravation ofa disease or physicaldefect,and Ioss of
                capacityforthe enjoymentofIifesustainedinthepast:
                                                                           $ J ooô ötr
            d. Pain and suffering, disability, physical im pairm ent, m entalanguish, em otional
               distress,inconvenience,aggravation ofa disease orphysicaldefect,and Ioss of
                capacityfortheenjoymentofIife sustainedinthefuture:
                                                                           $ Y ooo coo
                       Toawu oAuAoEs (sum oftue amountsaboverq $v'o zva .ooo
                                                                     ?'R /o/&t/3/&t%
         Now thatyou have answered Question #8, this ends your deliberations. Have your
         Foreperson sign and date the VerdictForm on the nextpage.




                                            Page 2 of3
        Case 1:19-cv-24766-KMW Document 307 Entered on FLSD Docket 07/19/2022 Page 3 of 3




 t
           SON Y W EAL.L.m
2,*11
.
                                                             o       E öZ&
           Foreperson's Signature                        Date



           Foreperson's Printed Nam e




                                            Page 3 of3
